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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                       At Greenbelt


In Re:                                          :
                                                :
ERNEST E. WATKINS                               :     Case No. 18-20114-LSS
                                                :          (Chapter 7)
                        Debtor                  :


                   APPLICATION BY CHAPTER 7 TRUSTEE TO EMPLOY
              SPECIAL COUNSEL TO NEGOTIATE SHORT SALE OF PROPERTY

         Gary A. Rosen, the Chapter 7 Trustee herein, submits this Application by Chapter 7

Trustee to Employ Special Counsel to Negotiate Short Sale of Property, and as reasons therefor

states as follows:

         1.     On July 31, 2018, Ernest E. Watkins (hereinafter the “Debtor”) filed a voluntary

petition for relief under Chapter 7 of the United States Bankruptcy Code.

         2.     Gary A. Rosen is the duly appointed Chapter 7 Trustee in this proceeding.

         3.     Among the assets of the estate is the real property located at 1816 Meridian Drive,

Hagerstown, MD 21742.

         4.     To liquidate the asset for the benefit of the creditors, it is necessary to sell the real

property.

         5.     Upon acceptance of a contract for sale of the above-mentioned property, Michelle

J. Adams and the firm of Adam, Morris & Sessing as counsel (“Special Counsel”) for the estate

will negotiate the sale of the property with the lender and act as liaison between all parties during

the transaction and through settlement.

         6.     Special Counsel shall receive a flat fee for services not to exceed 3% of the
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purchase price of the property, with a minimum fee of $4,500.00 (as detailed in the attached

Legal Services Engagement Agreement) in this matter and customary according to industry

standards. Payment of such flat fee shall be contingent on lender(s) approval and Special

Counsel’s procurement of a reasonable carve out for the benefit of the estate. The fee shall be

based on what is negotiated on the HUD-1 with the lender(s). Such fee shall be paid from the

proceeds otherwise payable to the lender(s) from the sale of the property on which lender(s) have

a mortgage.

       7.      The Trustee is informed and believes, and therefore alleges, that the approval of

this Application is in the best interest of this estate and accordingly, that the Court should

approve the employment of Special Counsel as provided in 11 U.S.C. §327(a). From the

Declaration made by Michelle J. Adams, Esquire of Adams, Morris & Sessing as Special

Counsel in connection with their employment as Special Counsel, the trustee is informed and

believes that Special Counsel is a disinterested party within the meaning of 11 U.S.C. §101(14)

and accordingly that it is appropriate to employ Special Counsel under the provisions of 11

U.S.C. §327(a).

       8.      Special Counsel is aware of the provision of 11 U.S.C. §328 and has agreed

notwithstanding the terms and conditions of employment set forth that the Court may allow

compensation different from the compensation provided herein if such terms and conditions

prove to have been improvident in light of any development unable to be anticipated at the time

of fixing of such terms and conditions.
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       WHEREFORE, the premises considered, it is prayed that this Honorable Court enter an

Order allowing the retention of the law firm of Adams, Morris & Sessing as Special Counsel to

represent the Trustee, to negotiate the sale of the property with the lender, act as liaison between

all parties during the transaction, and allowing such other and further relief as is just and proper.



                                                       GARY A. ROSEN, CHARTERED



                                                       By /s/ Gary A. Rosen
                                                             Gary A. Rosen, Esquire
                                                             One Church Street
                                                             Suite 800
                                                             Rockville, MD 20850
                                                             301-251-0202
                                                             trusteerosen@gmail.com


                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 11th day of July, 2019, a copy of the foregoing was

served electronically via CM/ECF to those recipients authorized to receive a Notice of Electronic

Filing by the Court per the attached Electronic Mail Notice List; and to the U.S. Trustee, 6305

Ivy Lane, Suite 600, Greenbelt, MD 20770.


                                                       /s/ Gary A. Rosen
                                                       Gary A. Rosen
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                      At Greenbelt


In Re:                                         :
                                               :
ERNEST E. WATKINS                              :     Case No. 18-20114-LSS
                                               :          (Chapter 7)
                       Debtor                  :



                          DECLARATION OF MICHELLE J. ADAMS

MICHELLE J. ADAMS, being duly sworn, deposes and says:

         1.    I am an attorney at law, duly admitted to practice in the State of Maryland.

         2.    I am a member of the law firm of Adams, Morris & Sessing (“AMS”), 12850

Middlebrook Road Germantown, MD 20874. I am familiar with the matters set forth herein and

make this Declaration in support of the Application to Employ Michelle J. Adams and AMS as

Special Counsel to the Trustee.

         3.    To the best of my knowledge, AMS represents no entity in connection with this

case, is a disinterested person as that term is defined in Section 101(14) of the Bankruptcy Code,

and represents or holds no interest adverse to the Trustee, creditors, any other party in interest,

their respective attorneys and accountants, the United States Trustee, or any person employed in

the Office of the United States Trustee.

         4.    AMS has performed a conflicts check and is not aware of any conflicts of interest

arising from its representation of the Trustee in this case.

         5.    No agreement exists, nor will any be made, to share compensation received by

AMS for its services with any other person or firm.
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      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.


                                            ADAMS, MORRIS AND SESSING


                                            By:     /s/   Michelle J. Adams
                                                    Michelle J. Adams
